 Fill in this information to identify the case:

                      Commonwealth Business Credit, LLC
 Debtor name ____________________________ _____ _____ _____ ______ _____ _____ _____ _

                                                       Northern
 United States Bankruptcy Court f or the: _______________________ District of ________
                                                                                                                Ohio
                                       21-31507
                                                                                                                 (State)
 Case number (If known):              _________________________


                                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                                    amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                           12/15




Part 1:          Summary of Assets


1.   Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

     1a.   Real property:
                                                                                                                                                                                                   0
                                                                                                                                                                                                 $ ________________
           Copy line 88 from Schedule A/B .....................................................................................................................................

     1b.   Total personal property:                                                                                                                                                                unknown
                                                                                                                                                                                                 $ ________________
           Copy line 91A from Schedule A/B...................................................................................................................................

     1c. Total of all property:                                                                                                                                                                    unknown
                                                                                                                                                                                                 $ ________________
           Copy line 92 from Schedule A/B .....................................................................................................................................




Part 2:          Summary of Liabilities




     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                                                                                                                                                                                                   8,001,676.65
2.
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D..............................................                                                   $ ________________


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)


                                                                                                                                                                                                   0
     3a.   Total claim am ounts of priority unsecured claim s:
           Copy the total claims from Part 1 from line 5a of Schedule E/F ....................................................................................                                   $ ________________


     3b.   Total am ount of claims of nonpriority am ount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F .........................................................                                         +     561,385
                                                                                                                                                                                                 $ ________________




4.   Total liabilities...................................................................................................................................................................          8,563,061.65
                                                                                                                                                                                                 $ ________________
     Lines 2 + 3a + 3b




 Official Form 206Sum                                       Sum m ary of Assets and Liabilities for Non-Individuals                                                                                    page 1
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